             Case 5:24-cv-04016-JAR-BGS Document 71 Filed 07/15/24 Page 1 of 2

                               UNITED STATES DISTRICT COURT
                                    DISTRICT OF KANSAS


                                                   )
Spiehs
                                                   )
                          Plaintiff(s),            ) CIVIL ACTION
                                                   ) CASE NO.            5:24-cv-04016-JAR-BGS
v.                                                 )
                                                   )
Morgan                                             )
                          Defendant(s).            )



                                   ADR REPORT

TYPE OF ADR:              Mediation           9
                                              ✔
                                                      Other:__________________      9
Name of Mediator or other Neutral:        John Phillips | Jay Daugherty Mediation

ADR Session Held (date): June 24, 2024

Additional Session(s) Held, if any (date):


Results of Referral to ADR:

     Case settled before ADR              ✔   Case did not settle

     Case settled at ADR session              Case settled in part


Mediation Fees (answer only if private mediator used): yes but not billed yet
Did neutral serve pro bono? Yes 9 or No 9   ✔
                                              .

Did neutral serve for a reduced fee? Yes 9 or No 9
                                                 ✔
                                                   .
Status of litigation when ADR occurred–please check one:
TRO 9                pre-discovery 9       partial discovery 9
                                                             ✔
                                                                            discovery complete 9
pending dispositive motion 9         After dispositive motion ruling 9      other 9



Length of ADR session: 2 hours



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             7/15/2024                                          Samuel A. Green
Dated:
                                                               Attorney Signature

(ATTENTION: This form is to be FILED by defense counsel within fourteen days of the
conclusion or cancellation of the ADR session. This form must be completed and returned even
if the ADR session was not held. Additional forms may be retrieved from the Court's website
at https://ksd.uscourts.gov/attorney-forms).


                                         THIS FORM IS FILED
         No information other than that specifically requested should be included on this form.




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